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IN THE UNITED sTATEs DISTRICT coURT FH.ED BY__ op
FOR THE wEsTERN DISTRICT oF TE:NNESSEE "* "'
wEsTERN DIVISION 05 gus 19 PH 2_ bg
X CLEHw.sMSWCr
CURTIS L. BYRD, JR. , X W/D O-‘c »'?\F~*~‘?EMPHS
X
Plaintiff, X
X
vS. x No. 04~2998-D/P
X
LESLIE I. BALLIN, et al., X
X
Defendants. X
X

 

ORDER GRANTING PLAINTIFF’S MOTION TO WITHDRAW REMAND MOTION

 

Plaintiff Curtis L. Byrd, Jr. commenced this action by
filing a legal malpractice complaint in the Shelby County Circuit
Court, docket number CT-005216~04, on Septemher 13, 2004 against
defendant Leslie I. Ballin, an attorney who represented Byrd in a
federal criminal prosecution arising out of this district. §§§_Notice
of Removal, Ex. A. On or about November 15, 2004, plaintiff filed an
amended complaint that, for the first time, added the National Bank
of Commerce (“NBC”) and three individuals, Sheila Burnett, Latoria
Johnson, and Patricia Cook, as defendants. §§g_Notice of Removal, Ex.
B. The claims against NBC arose under, ;g;g; gli§, the Right to
Financial Privacy Act, 12 U.S.C. § 3401 §§ §§g;, and Tennessee law.
NBC was served with the amended complaint on November 19, 2004 and
removed this action to federal court, pursuant to 28 U.S.C. §

1446(d), on Decemher 9, 2004.

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On December 13, 2004, plaintiff filed a notice of voluntary
dismissal, pursuant to Fed. R. Civ. P. 4l(a)(l)(i), of his claim
against NBC pursuant to the RFPA, and a motion seeking to remand the
action to state court for lack of federal jurisdiction. Subsequently,
on December 15, 2004, defendant Ballin filed a notice indicating his
consent to removal of the action, thus removing one of the grounds
on which the plaintiff had sought to remand the case. On December 17,
2004, NBC filed a response in opposition to plaintiff's motion to
remand. Plaintiff filed a motion for leave to withdraw his remand
motion on December 17, 2004. Finally, on December 20, 2004, plaintiff

filed an amendment that, inter alia, purported to reinstate the RFPA

 

claim against NBC.

The plaintiff’s various motions and filings raise a number
of complex procedural issues that merit discussion only because they
are relevant to the merits of the numerous applications subsequently
made by this plaintiff for defaults against various defendants.
Before venturing into this procedural thicket, it is perhaps useful
first to state the bottom-line conclusion that the plaintiff's motion
to withdraw the December 13, 2004 motion to remand is GRANTED. As a
result, for the reasons set forth below, the case remains in federal
court and the claims asserted against NBC include a claim pursuant
to the RFPA.

The first issue relates to the validity of the plaintiff's
notice of voluntary dismissal pursuant to Fed. R. Civ. P.
41(a)(1)(i). “The right of voluntary dismissal by notice prior to

service of the answer or a motion for summary judgment extends as

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fully' to cases removed fronl a state court as it does to cases
commenced in a federal court. Indeed, it frequently is used in this
situation when a plaintiff, who is unwilling to prosecute the action
in federal court, wishes to dismiss in order to start a new action
in state court and preclude removal by the joinder of nondiverse
parties, a change in the amount sought, or otherwise." 9 Charles Alan
Wright & Arthur R. Miller, Federal Practice and Procedure § 2363, at
257-58 (2d ed. 1995) (footnote omitted).1 However, plaintiff did not
voluntarily dismiss the action; instead, he sought, through his
December 13, 2004 filings, to dismiss only the sole federal claim.
It is not clear that he is entitled to do this.

Rule 4l(a), on its face, refers to the dismissal of “an
action,” not to a single claim. Letherer v. Alger Group. L.L.C., 328
F.2d 262, 266 (Sth Cir. 2003).2 Where, as here, a plaintiff seeks to
dismiss a claim against one of several parties, he must proceed
pursuant to Fed. R. Civ. P. lS(a). 9 Charles Alan Wright & Arthur R.
Miller, sup;a, § 2362, at 86 (Supp. 2005). Thus, the next matter to
be addressed is the appropriate treatment of the December 13, 2004

“notice” under Rule 15(a).3

 

1 Thus. contrary to NBC's position, plaintiff's desire to abandon the
federal claim in order to ensure that the action would be heard in state court is
not, in itselfl abusive. It is, however, as will be discussed infra, inappropriate
to do that by attempting to voluntarily dismiss only one claim in a pending
action.

 

2 Although the opinion in Letherer, 328 F.2d at 266 n.2, recognized a
split among the circuits on the availability of Rule 41 when a plaintiff seeks to
dismiss all claims against one or more parties, in this case the plaintiff sought
to dismiss only the federal claim against NBC while retaining NBC as a party to
the action.

3 As the plaintiff plainly had no intention, at the time he filed the
“notice," of voluntarily dismissing his claim against Ballin or his state-law
(continued...)

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Rule 15(a) provides, in pertinent part, as follows:
A party may amend the party’s pleading once as a
matter of course at any time before a responsive pleading
is served . . . Otherwise a party may amend the party's
pleading only by leave to court or by written consent of
the adverse party; and leave shall be freely given when
justice so requires.
However, “a party may not employ Rule 15(a) to interpose an amendment
that would deprive the district court of jurisdiction over a removed
action.” 6 Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,

Federal Practice and Procedure § 1477, at 562 (2d ed. 1990); see also

 

id; at 562-63; id; at 60-61 (Supp. 2005) (collecting cases).4
Accordingly, to the extent the December 13, 2004 filing is construed
as a motion for leave to amend, such leave is DENIED.5

The plaintiff's December 13, 2004 notion to remand was
based on the assumption that he had destroyed federal jurisdiction

by voluntarily dismissing the RFPA claim against NBC. For the reasons

 

3 (...continued)

claim against NBC, it would not be appropriate to construe the notice as an
attempt to voluntarily dismiss the entire action pursuant to Fed. R. Civ. P.
41(a)(1)(i), even though that construction would accomplish the plaintiff's
purpose at the time he filed the motion of permitting a newly filed action to
proceed in state court. Moreover, plaintiff's subsequent change of heart about the
advisability of litigating this action in state court also militates against such
a construction. Finally, a contrary construction runs the risk of bringing into
play the final sentence of Rule 41(a).

‘ For purposes of this order, it is unnecessary to decide whether the

plaintiff was required to seek leave of court for his amendment in light of the
fact that the complaint was amended in state court. A plaintiff cannot use his
right to amend the complaint without leave of Court to destroy federal
jurisdiction over the action. Seel e.g., Bevels v. American States Ins. Co., 100

F. Supp. 2d 1309, 1312-13 (M.D. Ala. 2000); Marsh v. Tillie Lewis Foodsl Inc., 257
F. Supp. 645 (D. S.D. 1966).

5 Although the Court could permit the amendment on the theory that

subject~matter jurisdiction is evaluated as of the date the notice of removal is
filed, in this case the plaintiff filed another proposed amendment on December 20,
2004 that purported, inter alia, to reinstate the RFPA claim against NBC. The
substance of that proposed amendment complaint will be addressed in a subsequent
order.

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discussed supra, plaintiff's assumption was erroneous. Moreover, on

December 17, 2004, plaintiff filed a motion to withdraw his December

to withdraw the motion to remand is GRANTED.6

IT IS SO ORDERED this [£Jh day of August, 2005.

 

 

5 The fact that defendant Ballin consented to removal eliminates one
ground that would otherwise warrant remand of the case. Plaintiff's apparent
assumption that federal jurisdiction exists over his legal malpractice claim
against Ballin because of Ballin's consent to removal is in error. Subject-matter

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CV-02998 Was distributed by faX, mail, or direct printing on
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